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                             IN THE UNITED STATES DISTRICT COURT

                                       FOR THE DISTRICT OF UTAH



     RICHARD BUGG, an individual,                  ORDER GRANTING JOINT MOTION
                                                   FOR EXTENSION OF TIME FOR
                     Plaintiff,                    FILING POTENTIALLY DISPOSITIVE
            v.                                     MOTIONS

     MINDY BENSON, et al.,                         Case No: 4:22-cv-00062-DN

                    Defendants.                    District Judge David Nuffer

                                                   Magistrate Judge Paul Kohler



          Pursuant to the Joint Motion of the Parties, 1 the Court GRANTS the motion and extends

the deadline for filing potentially dispositive motions until three weeks after the date the Court

rules on Plaintiff’s pending Objections to the Magistrate Judge Order Denying Leave to Amend.

          SO ORDERED this 2nd day of November, 2023.

                                               BY THE COURT:




                                               _____________________________
                                               PAUL KOHLER
                                               United States Magistrate Judge



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    Docket No. 50, November 1, 2023.

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